













Opinion issued February 28, 2008








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-07-01098-CV
____________

STATESIDE ENTERPRISES, INC., Appellant

V.

THE CHAIR KING, INC., Appellee

* * * * * * 

THE CHAIR KING, INC., Appellant

V.

STATESIDE ENTERPRISES, INC., Appellee




On Appeal from the 295th District Court
Harris County, Texas
Trial Court Cause No. 2005-36544




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion to dismiss their appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(2).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Nuchia, Hanks, and Higley.


